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(CAN Rev, 11/21/13)
A0245B (Rev. 09/11) Judgment in Criminal Case
Sheet I

 

UNITED STATES DISTRICT COURT
Northern District of California

 

 

 

UNITED STATES OF AMERICA ) JUDGMENT IN A CREMINAL CASE
v. )
ZHIQIANG FHANG J USDC Case Number: 0971 5:10CRG0827-001 LHK
} BOP Case Number: DCAN510CR1000827-001
\ USM Number: 15113-111
\ Defendant’s Attorney: - i
Thomas Nolan, Retained L E D
Shira Kieval, Retained
FEB 04 roy
Giga Me wy. wiry
NORTHERN ois STRICT CogRy
THE DEFENDANT:
¥] pleaded guilty to count(s): Count 1
L] pleaded nolo contendere to count(s): which was accepted by the court.
LJ was found guilty on count(s): after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

 
  
 
  
 

Nature of Offense Offense Ended Count

Ae Gees
4 ee]
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ieee Se

 
 
  

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PEELS eee ne

The defendant is sentenced as provided in pages 2 through 6 ___ of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.

L] The defendant has been found not guilty on count(s):

 

¥1 Count(s) 2.34 LJ is ¥1 are dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

 

 

 

 

1/29/2014
“acy 1 of Judgment
Signature &fJudge

The Honorable Lucy H. Koh
United States District Judge
Name & Title of Judge

(/ 30/14

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Sheet 4C — Probation

Judgment—Page 3 of 6

DEFENDANT: ZHIQIANG ZHANG
CASE NUMBER: 0971 5:10CR00827-001 LHK

SPECIAL CONDITIONS OF SOPERVISION

1. The defendant shall pay any restitution, fine and special assessment that is imposed by this judgment and that remains
unpaid at the commencement of the term of supervised release.

2. The defendant shall provide the probation officer with access to any financial information, including tax returns, and shall
authorize the probation officer to conduct credit checks and obtain copies of income tax returns.

3. The defendant shall not open any new lines of credit and/or incur new debt without the prior permission of the probation
officer.

4. The defendant shail participate in the Location Monitoring Program as directed by the probation officer for a period of six
months, and be monitored by Location monitoring technology at the discretion of the probation officer. Location monitoring
shalt be utilized to verify his compliance with home detention while on the program. Location monitoring shall also be
utilized to verify his compliance with a curfew while on the program. The defendant is restricted to his residence everyday
from 10:00 p.m. to 6:00 a.m., as directed by the probation officer. The defendant is restricted to his residence during these
times except for approved absences for employment, religious services, medical care, and at such other times as may be
specifically authorized by the probation officer. The defendant shall pay all or part of the costs of the program based upon
his ability to pay as determined by the probation officer.

5, The defendant shall submit his person, residence, office, vehicle, or any property under his control to a search. Such a
search shall be conducted by a United States Probation Officer or any federal, state or local law enforcement officer at any
ume wiih or without suspicion. Failure to submit to such a search may be grounds for revocation; the defendant shail warn
any residents that the premises may be subject to searches.

6. The defendant shall disclose to the probation officer, in writing, any and all job responsibilities, including employment
offer letters, for his current and future employment positions, as directed by the probation officer.

7. The defendant shall not have contact with any codefendant in this case, namely Xiaodong Liang and Yanmin Li.
8. The defendant shall cooperate in the collection of DNA as directed by the probation officer.

9. The defendant shail not own or possess any firearms, ammunition, destructive devices, or other dangerous weapons.

 

 
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AU Z45B Usev, U9 11) Judgment in Cnminai Case
Sheet 4--Probation

Fudgment—Page 2 of

DEFENDANT: ZHIQIANG ZHANG
CASE NUMBER: 9971 5:10CR00827-001 LHK

PROBATION

The defendant is hereby sentenced to probation for a term of :

Five years

The defendant shal! not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.

¥| The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon, (Cheek, ifanplicabie.)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check ifapplicable.)

OS

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, e7 seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, if applicable.j

(1 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

Hf this judgment imposes a fine or restitution, it is a conditifh of probation that the @efendant pay in accordance with the S{Tedule of
Payments sheet of this judgment.

The defendant mlst comply with the standard conditions that hat been adopted bythis court as well as with any additional anditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shali report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5} the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6} the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:

7) the defendant shall refrain from excessive use of alcoho! and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8} the defendant shail not frequent places where controlled substances are illegally sold, used. distributed, or administered:

--}---the-defendant-shail-not-asseciate-with-any persons engaged in criminal-activity-and-shali-not-associate-with-any-person convicted of a-~-------—

felony, unless granted permission to do se by the probation officer;

10) the defendant shall permit a probation officer to visit himor her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11} the defendant shall notify the probation officer within seven{!}two hours of being arrestedor questioned by a law enforcement officer,

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforce! Git agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notif third parties ofrisks that ithay be occasioned by the defendant’s criminal
record or personal history of characteristics and shall perf Bthe probation officer to m ke such notifications and to confirm {the

defendant’s compliance with such notification requirement.
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AU 245 Udev U9 TT) sudgment in Criminal ase
Sheet 5 — Criminal Monetary Penalties

Jidgment—-Page 4 of

DEFENDANT: ZHIGIANG ZHANG
CASE NUMBER: 0971 5:10CROQ0827-007 LHK

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 100.00 $ 20,000.00 $ 75,000.00
(| ‘The determination of restitution is deferred until _. An Amended Judgment in a Criminal Case (40 245C} will be entered

after such determination.
1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

Ifthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

     

Name of Payee Total Lass* Restitution Ordered Friority er Percentage
tee

TOTALS $75,000.00 $75,000.00

 

1 Resfitution amount ordered pursuant to plea agreement § 75,000.00

 

FT} The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in fuli before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

CL] The court determined that the defendant does not have the ability to pay interest and it is ordered that:
{-] the interest requirement is waived forthe — fine (2 restitution.

[] the interest requirement forthe (J fine (1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 foroffenses committed on or after
September 13, 1994, but before April 23, 1996,

 
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{CAN Rev. 1i/2i4
AO 245B (Rev. 09/11) Judgment in Criminal Case
Sheet 6 -- Schedule of Payments
DEFENDANT: ZHIQIANG ZHANG Judgment - Page oS of 6

CASE NUMBER: 0971 5:10CR00827-001 LHK

 

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows":
A | Lump sum payment of $95,100.00 due immediately, balance due

J notlaterthan ,or
in accordance £1¢, C1 D, (1B, and/or I F below: or

B (1 Payment to begin immediately (may be combined with (1 C, LAD, or (1 F below); or

CO Paymentinequal _(e.g., weekly, monthly, quarterly) installments of —__ __overaperiodofF
(e.g., months or years), to commence “oe _ (e.g., 30 or 60 days) after the date of this judgment; or

DL] Paymentinequal _(e.g., weekly, monthly, quarterly) installments of _. Overaperiod of
(e.g., months or years), to commence ee. fe.g., 30 or 60 days) after release from. imprisonment to aterm of

supervision, or

E Ci Payment during the term of supervised release will commence within __ _(e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

FY i Regia instag sflons vegan dine the pa ment of rdninal Orga RCReNSS: 5 fine of $20,000. Criminal monetary payments
shall be made to the Clerk of U.S. District Court, 450 Golden Gate Ave., Box 36060, San Francisco, CA 94102, ina
single, lump-sum payment due within six months of sentencing.

The defendant shall pay restitution to CSR/SIRF in the amount of $75,000, which shall be due immediately. Criminal
monetary payments shall be made to the Clerk of U.S. District Court, 450 Golden Gate Ave., Box 36060, San
Francisco, CA 94102. Restitution, as confirmed by the victim, has been paid in full.

Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. Ali criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

CJ Joint and Several

Case Number

Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
{ineluding defendant ourmber) Total Amount Amount ' ‘if appropriate

 

Cl The defendant shall pay the cost of prosecution.

C The defendant shall pay the following court cost(s): _

Cr The defendant shall forfeit the defendant’s interest in the following property to the United States:

CJ The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of

all or part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect
the defendant’s responsibility for the full amount of the restitution ordered.

 

* Payments shall be applied in the following order; (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, {6} community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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AO 245B (Rev. OST T) Judament in Criminal Case iC) ves o no”:
Sheet 6B — Schedule of Payments :

 

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DEFENDANT: ZHIQIANG ZHANG
CASE NUMBER: 0971 5:10CR00827-001 LHK

ADDITIONAL FORFEITED PROPERTY
1) Dell laptop computer, model number PP25L, serial number 3N84VFI;
2) Dell Power Edge SC430 Server, serial number GQ 13Y91;
3) 2GB thumb drive
4) 512M thumb drive

5) Compact disc labeled “Kingsway Tek”

 

 

 
